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                 Case 2:13-cr-00787-SDW                                  Document 21
  %CJA 20 A.PPOINTME NT’ OF ANT) AU’l I N )RI FYi) ) PAY COURT API’!)! NIP!) COUNSEl. IRA 103            Filed 08/07/14                                 Page 1 of 1 PageID: 88
 1. CIR./DIST./ DIV COOL           2 PERSON REPRESENt EL)                                                                   Vt>! Ci tEN NUMBER
                                      Emil “utlcdge
 3. MAG. DKT lOt/F N1JMBER                   4 01ST. DKT /Ot/F NUMBER                         5 APPEAI.S DK’! fuEl. NI.    MBER
                                                                                                                           T                     (r. OTHER DKT. NtJIsltJt/R
                                                          I 3-CR-787-02
 7. IN CASE/MATTER OF ((as, Name)            8. PAYMENT CATEGORY                              9. TYPE PERSON RI/PRESENTED                        10 REPRESENTA1 ION TYPE
                                             x Felony               U Petty Offense           x Adult Defendant              U Appellant               (Sec lnstructir,n.s3
     USA v. Emil Rutledge                    U Misdemeanor          U Other                   U Juvenile Defendant                Appellee             CC
 -.


                                             U Appeal                                        U Other
 it. OFFENSE(S) CHARGED (Cite U S. Code, Title & Section) Ifinure than rinc oflhn.re, ItO (up to jive) ma/or offeirse.c charged, according
                                                                                                                                            to ceverny p/offence.
     18:1962(c) Racketeering: 18:1962(d) Racketeering Conspiracy: 18 I 959(a)(5) and 2 Attempted Murder in Aid of Racketeering 18:1
                                                                                                                                                     ;      959(a)(3) and 2 Assault with
     a Dangerous Weapon in Aid of Racketeering; I 8:924(c)(l )(A)(iii) and 2 Use of a Firearnt Dtiring a Crime of Violence,
                                                                                                                                           18: 1959(a)(5) and 2 Attempted Murder in
     Aid of Racketeering; 18: l959(a)(3) and 2 Assault with a Dangerous Weapon in Aid of Racketeering

 12.        ATTORNEY’S NAME (Hrsi Nwne, Ml., Last Manic, including any .suffix,                           I)    COURT ORDER
            AND MAILING ADDRESS                                                                                       Appointing Counsel
                                                                                                                C)                                                                       C    Co-Counsel
            Timothy R. Anderson. Esq.
                                                                                                                F Subs For Federal Dekoder                                               R    Subs For Retained Attorney
            225 Broad Street, 3rd Floor
            Red Bank, NJ 07701                                                                                  P Subs For Panel Attorney                                                Y    Standby Counsel

                                                                                                         Prior Attoree
                                                                                                         Name
                                                                                                               Appointment I )a!es.

                                                                                                           U Because time above-nan                pe son r                resented has testified under oath or has otherwise
            Teteptsone Number                              732-212-2812                                  satisfied this Court that     or           e                    maitciatty unable to eiimptoy counsel ned (2) does not
                                                                                                         wish to waive couns       and,            a        e        e    terest    of justice so require. the attonmey whose
t4.3 NAME AND MAIL1NG ADDRESS OF LAW FIRM (Only provide per instrsicturnc)                               anise a                 a           app        a       d to epr       e tiTus        ra   tin this case. OR
                                                                                                                  tImer Ace hi :ir        Ofls)




                                                                                                                                     Si       ire of            e        ng         eo       y Or r of the Con


                                                                                                                                      of Order                                                       Nunc Pro Tsnc Date
                                                                                                         Repayine           artimit repaynient or                   red Eon the pet soar           resented foe this service at time
                                                                                                         appointrne                      YES                         NO

                             CLAIM FOR SERVICES AND EXPENSES                                                                                                             FOR COURT USE ONLY
                                                                                         HO IRS                    TOTAL                       MATHIFECH.                               MATH/TECH.
            CATEGORIES t/ltiach iteaiization ofservices wiih datcs,)                                              AMOUNT                                                                                         AD ITIONAL
                                                                                        CLAiMED                                                 ADJUSTED                                 ADJuSTED
                                                                                              ,                   CLAIMED                        HOURS                                   AMOUNT                    RE tE
15         a. Arraignment and/or Plea
           b. Bail and Detention Hearings
           c. Motion Hearings
           d. Trial
           e. Sentencing Hearings
           f. Revocation Hearings
           g. Appeals Court
           Is. Other (SpeciJi’ on additional sheets)
           (RATEPERHOUR=$                                     )  TOTALS:
16.        a. Interviews and Conferences
           b. Obtaining and reviewing records
           c. Legal research and brief writing
      ‘    d. Travel time
           e. lisvestigative and other work (Specify on additional sheets)
           (RATEPERHOURS                                     )   TOTALS:
7.         Travel Expenses (lodging, parking, meals, mileage, etc.)
l          Other Expenses ot her than expert, transcripts, etc.)
GRAND TOTALS (CLAIMED AND ADJUSTED):
19 CERTIFICATION OF ATTORNEY/PAYEE FOR THE PERIOD OF SERVICE                                              20. APPOIN IMEN’f TERM NAt ION DA1 E                                                     2!, CASE DISPOSITION
                                                                                                              IF OFHER THAN CASE COMPLETION
          FROM:                                            TO:
22 CLAIM STATUS                         0 Final Payment                0 Interim Pa3ltment Nsmnber                                       U Supplenmeetal Payment
          Have yoti previously applied to the Court for compensation nnd’m.tr renmmbnrsenient foi las  U YES          U  NO           Ifes, ssei’e you paid’
                                                                                                                                                       tm      U YES U NO
          Other tItan from the Court, have you, om to your knowledge has anyone else, received payment (coiiipen.sation or anything o/ value)
                                                                                                                                              Ruin any other source in connection with this
          representation? U YES          U NO             If yes, give details on additional sheets
          I swear or affirm the truth or correctness of the above statements.
          Signature of Attorney
                                                                                                                                              Date
                yj
                                                             APPROVED
                                                                                 FORPAYME
                                                                                                     NT—COLJR
                                                                                                                             TUSEONLY




23. IN COURT COMP                         24 OUT OF COURT COMP               25. TRAVEL EXPENSES                     26 OTHER EXPENSES                                             27    fOTAL AMT APPR.ICERT.

28. SIGNATURE OF THE PRESIDING JUDGE                                                                                 DATE                                                          28a JUDGE CODE

29. IN COURT COMP.                        30 OUT OF COURT COMP .31.T RAVEL EXPENSES                                  32 OTHER EXPENSES                                             33 1 OTAL AMT. APPROVED

34. SIGNATIJRE OF CHIEF JUDGE, COURT OF APPEAt,S (OR DELEGA’FFml/’ap’nc’nt approved                                  DATE                                                          34n JIJDGII CODE
    in cxc car ofthr.’ stcioumiry threshold amount.
